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                                                                                FILED IN THE
                                                                            U.S. DISTRICT COURT
                                                                      EASTERN DISTRICT OF WASHINGTON



                                                                           11/17/15
                                                                           SEAN F. MCAVOY, CLERK
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